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                                                                         Flt. ED
                                                                          DEC 1 ,.· 2017
                                                                       Clerk, U.S District Court
                                                                         District Of Montana
                                                                                Helena




                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF MONTANA

                                 BUTTE DIVISION

 UNITED STATES OF AMERICA,                         CR 13-24-BU-SEH

                            Plaintiff,             ORDER

        vs.

 JESUS PIMENTEL-LOPEZ,

                            Defendant.

       The Court has received the resubmitted and revised invoice from Norma D.

Fender, dated December 11, 2017, for Spanish interpretation services in the

amount of $1053.03 to translate the Revised Presentence Investigation Report in

this case.

       Notwithstanding the failure of counsel to obtain authorization prior to

procuring the interpreter services, the court finds the services of the interpreter

were necessary for adequate representation of the Defendant.



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      ORDERED:

      Defendant's Motion for Authorization of Expert Fees 1 is GRANTED as

follows:

      The CJA 21 Authorization and Voucher for Expert and Other Services in

the amount of $1053 .03 is approved and authorized for payment

      DATED this //\'fr.Y of December, 2017.




                                             J:fu:1o1~#7
                                             United States District Judge




      1
          Doc. 369.

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